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8                           UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,
                                                NO. CR. 99-433 WBS
12                Plaintiff,
13        v.                                    ORDER RE: DEFENDANT’S
                                                MOTION TO DISMISS
14
     JOHN THAT LUONG, et al.,
15
                  Defendants.
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17                                  ----oo0oo----
18                Defendant John That Luong is charged with four counts
19   of conspiracy to commit a robbery under the Hobbs Act, four
20   counts of use of a firearm during a crime of violence, and one
21   count of death caused by use of a firearm during a crime of
22   violence and aiding and abetting.          (Oct. 1, 1999 Indictment.)
23   Defendant now moves to dismiss Counts One through Nine of the
24   indictment for failure to properly allege the offenses charged,
25   pursuant to Federal Rule of Criminal Procedure 12(b)(3)(B).1
26                An indictment must inform the defendant of “the nature
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               Defendants Houng Ai Le, Son Van Nguyen, Thongsouk Theng
28   Lattanphom, and Minh Huynh join in this motion.

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1    and cause of the accusation in order that he may meet it and
2    prepare for trial, and after judgment, be able to plead the
3    record and judgment in bar of a further prosecution for the same
4    offense.”    Wong Tai v. United States, 273 U.S. 77, 80-81 (1927).
5    Additionally, the indictment serves to “ensure that the defendant
6    is being prosecuted on the basis of facts presented to the grand
7    jury and to allow the court to determine the sufficiency of the
8    indictment.”    United States v. Lane, 765 F.2d 1376, 1380 (9th
9    Cir. 1985).    To meet these ends, “[a]n indictment must set forth
10   each element of the crime that it charges.”       Almendarez-Torres v.
11   United States, 523 U.S. 224, 228 (1998) (citing Hamling v. United
12   States, 418 U.S. 87, 117 (1974)).
13               “Failure to allege an essential element of the offense
14   is a fatal flaw not subject to mere harmless error analysis.”
15   See, e.g., United States v. Du Bo, 186 F.3d 1177, 1179 (9th Cir.
16   1999) (holding that “if properly challenged prior to trial, an
17   indictment’s complete failure to recite an essential element of
18   the charged offense is not a minor or technical flaw subject to
19   harmless error analysis, but a fatal flaw requiring dismissal”).
20   Nevertheless, “[t]he use of a ‘bare bones’ information--that is
21   one employing the statutory language alone--is quite common and
22   entirely permissible so long as the statute sets forth fully,
23   directly and clearly all essential elements of the crime to be
24   punished.”    United States v. Crow, 824 F.2d 761, 762 (9th Cir.
25   1987); see also United States v. Woodruff, 50 F.3d 673, 676 (9th
26   Cir. 1995).
27               Defendant first contends that Count One of the
28   indictment is insufficient because it alleges that defendants

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1    acted “knowingly” and “unlawfully,” but not that they acted
2    “willfully,” in the commission of the robbery.            Defendant argues
3    that for this reason, Count One and other, dependent counts
4    should be dismissed.
5                 “[T]he appropriate mens rea [for a Hobbs Act charge is]
6    that of acting ‘knowingly or willingly.’”           United States v.
7    Soriano, 880 F.2d 192, 198 (9th Cir. 1989)(emphasis added); see
8    also Du Bo, 186 F.3d at 1179 (“Although not stated in the Hobbs
9    Act itself, criminal intent--acting ‘knowingly or willingly’--is
10   an implied and necessary element that the government must prove
11   for a Hobbs Act conviction.” (emphasis added)).            Thus, the
12   government must prove a mens rea of either knowingly or
13   willfully.2     Here, the indictment alleges that defendants “did
14   knowingly and unlawfully agree and conspire”.           (Oct. 1, 1999
15   Indictment 1-2.)       Therefore, the allegations in Count One of the
16   indictment are sufficient to state an offense, and neither this
17   count nor other, dependant counts should be dismissed.
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               Defendant cites United States v. Capati, 980 F. Supp.
     1114 (S.D. Cal. 1997), for the proposition that specific intent
20   is a necessary element of robbery under the Hobbs Act. However,
     this proposition does not disturb the court’s determination for
21   several reasons. First, Count One alleges conspiracy to commit
     robbery under the Hobbs Act. Second, as discussed in the text,
22   the Ninth Circuit has more clearly explained in Du Bo that an
     allegation of knowing or willful conduct is sufficient to allege
23   a violation of the Hobbs Act, and such an allegation has been
     made here. Finally, the restrictiveness of the court’s
24   interpretation of the Hobbs Act in Capati and in a case cited
     therein, United States v. Nedley, 255 F.2d 350 (3d Cir. 1958),
25   has been called into question by Supreme Court cases describing
     the sweeping language and scope of the Hobbs Act. See United
26   States v. Thomas, 8 F.3d 1552, 1563 (11th Cir. 1993) (“Supreme
     Court cases interpreting the Hobbs Act, although not specifically
27   rejecting Nedley, indicate that it may have been wrongly
     decided.” (citing United States v. Culbert, 435 U.S. 371, 373,
28   380 (1978); Stirone v. United States, 361 U.S. 212, 215 (1960))).

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1              Additionally, defendant contends that Count One does
2    not provide sufficient notice of whether the allegations involve
3    conspiring to obstruct commerce by armed robbery of individuals
4    or of a business.    (Defs.’ Mot. to Dismiss the Indictment 5.)
5    “Robbery of an interstate business . . . typically constitutes
6    sufficient evidence to satisfy the Hobbs Act’s interstate
7    commerce element.”    United States v. Rodriguez, 360 F.3d 949, 955
8    (9th Cir. 2004).    By contrast, there are heightened requirements
9    for a charge of robbery under the Hobbs Act when it is directed
10   at an individual.    Id.   More specifically, the government must
11   show that the defendant “(1) stole from a person ‘directly and
12   customarily engaged in interstate commerce;’ (2) created a
13   likelihood that the assets of an entity engaged in interstate
14   commerce would be depleted; or (3) victimized [many people] or
15   took a sum so large that there was ‘some cumulative effect on
16   interstate commerce.’”     United States v. Lynch, 282 F.3d 1049,
17   1055 (9th Cir. 2002).
18             However, the language in the indictment is sufficiently
19   clear to put defendants on notice that the indictment alleges the
20   robbery of a business.     In Rodriguez, the court noted that “the
21   indictment specifically stated that the intended targets of the
22   robbery were ‘narcotics traffickers’,” and therefore found “that
23   an intended robbery of cocaine from narcotics traffickers is the
24   robbery of a business . . . .”     Id. at 955-56.     Here, the
25   indictment alleges the defendants obstructed and affected
26   commerce “by armed robbery . . . by threatening physical violence
27   against another person, to wit: the owners and employees of Phnom
28   Pich Jewelry Store, a company which does business in foreign and

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1    interstate commerce.”       (Oct. 1, 1999 Indictment 2.)       As in
2    Rodriguez, the victims of the crime are not named or identified
3    as strictly as individuals, but with regard to their relationship
4    to a certain type of business.         Thus, the indictment sufficiently
5    puts defendants on notice of the fact that they are charged with
6    conspiring to obstruct commerce by armed robbery of a business.
7                 Defendant further argues that Count Three of the
8    indictment, which charges defendants under 18 U.S.C. §§ 924(j),
9    is insufficient because it erroneously alleges an underlying
10   predicate offense not enumerated in § 924(j)(1) and does not
11   allege the requisite intent for an enumerated felony.3            Count
12   Three alleges that defendants “did cause, and did aid and abet in
13   causing the death of a human being . . . through the use of a
14   firearm” in the course of committing a violation of 18 U.S.C. §
15   924(c)(1), and that the killing was murder.           See United States v.
16   Nguyen, 155 F.3d 1219, 1225 (10th Cir. 1998) (“One is guilty of
17   violating 18 U.S.C. § 924(j)(1) if he caused the death of a
18   person while using a firearm to commit a crime of violence in
19   violation of section 18 U.S.C. § 924(c)(1).”).
20                The section at issue in Count Three, § 924(j), has two
21   components: (1) causing the death of another through the use of a
22   firearm during the commission of a crime of violence, referencing
23   § 924(c); and (2) that the killing be murder as defined in §
24   1111.     In turn, § 1111(a) defines murder as “the unlawful killing
25   of a human being with malice aforethought,” but additionally
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               Count Three incorrectly lists “18 U.S.C. § 924(i)(1)
     and 2” as the statute under which the offenses are charged. This
28   statute is currently designated as §§ 924 (j)(1) and (2).

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1    allows for liability under the felony murder rule.4            Defendants’
2    arguments infer that Count Three charges them with felony murder.
3                 This court has already determined that the language at
4    issue here does not necessarily allege felony murder.             Transcript
5    of Jury Trial Record, Vol. 14, United States v. Thy Chann, No.
6    99-433 at 2320-39 (Jun. 2, 2003).          As the court previously
7    observed, the government’s failure to actually charge defendants
8    with an underlying felony offense, namely robbery, and to allege
9    the requisite mens rea precludes a finding that the indictment
10   depends upon proof of felony murder.          The language regarding “the
11   aforementioned robbery” simply serves to explain the crime of
12   violence that the firearm was used in connection with, thereby
13   fulfilling a requirement of the first component of § 924(j)--
14   which references § 924(c).
15                By contrast, the relevant language regarding the second
16   component of § 924(j)–requiring a violation of § 1111--was the
17   allegation that defendants caused the death of a human being and
18   that the killing was murder.         Section 1111 requires that the
19   killing be murder, and it includes first and second degree murder
20   as well as felony murder.        The court previously noted that
21   because the indictment did not clearly charge the defendants with
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               In its unpublished disposition, the Ninth Circuit
     rejected the argument now being made by defendants when it was
24   raised by the three previously-convicted defendants in this case
     (Bao Lu, Thy Chann, and Son Van Nguyen). The law of the case
25   doctrine, however, only “applies to the same case when the
     parties in the subsequent proceeding were also the parties to the
26   former appellate decision.” United States v. Maybusher, 735 F.2d
     366, 370 (9th Cir. 1984) (concluding that the law of the case
27   doctrine was inapplicable where defendant had not been a party to
     the appellate decision that the government sought to apply).
28   Here, defendant Luong was not a party to the earlier appeal.

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1    felony murder, it was unnecessary that the defendants be charged
2    with the underlying felony.         Defendant’s arguments that the
3    indictment is insufficient rest upon the incorrect inference that
4    Count Three contains an charge of felony murder, when the charge
5    is simply one of aiding or abetting murder without specification
6    as to its degree.        Because the requirements with regard to felony
7    murder are irrelevant to Count Three, this challenge to the
8    sufficiency of the indictment also fails.5
9                  To the extent that defendants argue that Count Three is
10   still insufficient with regard to its allegation of mens rea, in
11   United States v. Ricketts, the court found that a count was
12   sufficiently alleged when it charged the defendant with “a
13   firearm murder during or in relation to a drug trafficking crime,
14   18 U.S.C. § 924(j).”        317 F.3d 540, 545 (6th Cir. 2003) (noting
15   that “[a]ny additional language in count three indicating that
16   [the defendant] committed premeditated murder is clearly
17   extraneous and unnecessary to convict the defendant under section
18   924(j).”) (citing United States v. Miller, 471 U.S. 130, 136
19   (1985)).      Defendants here have been given sufficient notice of
20   the murder charge in Count Three by the inclusion of language in
21   the indictment that tracks the requirements explained in
22   Ricketts.
23   ///
24   ///
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               Moreover, in the interest of certainty and consistency,
26   this court “will not deviate from the path selected” in another
     decision by the court on this issue. Adams v. Charter Commc’ns
27   VII, LLC, 356 F. Supp. 2d 1268, 1273 (M.D. Ala. 2005). This
     approach is especially warranted where, as here, the Court of
28   Appeals has already in effect affirmed the court’s decision.

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1               IT IS THEREFORE ORDERED that defendant’s motion to
2    dismiss Counts One through Nine of the Indictment be, and the
3    same hereby is, DENIED.
4    DATED:   August 18, 2006
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